             Case 2:17-cv-05502-RK Document 1 Filed 12/08/17 Page 1 of 5



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ELIZABETH HOTCHKISS                                 )
                                                    )
                      Plaintiff,                    )
       vs.                                          )
                                                    )        Civil Action No.
TRANS UNION, LLC                                    )
                                                    )
                                                    )
                      Defendant.                    )
                                              ______)

                                          COMPLAINT

                                   I.    Preliminary Statement

       1.      This is an action for damages brought by an individual consumer against the

Defendant for violations of the Fair Credit Reporting Act (hereafter the “FCRA”), 15 U.S.C.

§1681 et seq., as amended.

                                   II.   Jurisdiction and Venue

       2.      Jurisdiction of this Court arises under 15 U.S.C. § 1681p, 28 U.S.C. §1331, 1337.

       3.      Venue lies properly in this district pursuant to 28 U.S.C. §1391(b).

                                           III.   Parties

       4.      Plaintiff Elizabeth Hotchkiss is an adult individual who resides in the State of

Vermont.

       5.      Defendant Trans Union, LLC (hereafter “TU”) is a business entity that regularly

conducts business in the Eastern District of Pennsylvania and which has a principal place of

business located at 1510 Chester Pike, Crum Lynne, Pennsylvania 19022.
              Case 2:17-cv-05502-RK Document 1 Filed 12/08/17 Page 2 of 5



                                        IV.     Factual Allegations

        6.      Defendant has been reporting derogatory and inaccurate statements and

information relating to Plaintiff and Plaintiff’s credit history to third parties (hereafter the

“inaccurate information”) from at least November 2017 through the present.

        7.      The inaccurate information includes, but is not limited to, a federal tax lien.

        8.      The inaccurate information negatively reflects upon the Plaintiff, Plaintiff’s credit

repayment history, Plaintiff’s financial responsibility as a debtor and Plaintiff’s credit

worthiness. The inaccurate information consists of public record information that was satisfied

but has not been updated to reflect paid. Due to Defendant’s faulty procedures, Defendant failed

to update Plaintiff’s credit file.

        9.      Defendant has been reporting the inaccurate information through the issuance of

false and inaccurate credit information and consumer credit reports that it has disseminated to

various persons and credit grantors, both known and unknown from at least November 2017

through the present.

        10.     Plaintiff has applied for and has been denied various loans and extensions of

consumer credit on many different occasions, and Plaintiff has been informed that the basis for

these denials was the inaccurate information that appears on Plaintiff’s credit reports and that the

inaccurate information was a substantial factor for those denials.

        11.     Plaintiff’s credit reports and file have been obtained from Defendant and have

been reviewed by prospective and existing credit grantors and extenders of credit, and the

inaccurate information has been a substantial factor in precluding Plaintiff from receiving credit

offers and opportunities, known and unknown. Plaintiff’s credit reports have been obtained from

Defendant by such third parties from at least November 2017 through the present.




                                                  2
             Case 2:17-cv-05502-RK Document 1 Filed 12/08/17 Page 3 of 5



        12.    As a result of Defendant’s conduct, Plaintiff has suffered actual damages in the

form of credit denial or loss of credit opportunity, credit defamation and emotional distress,

including anxiety, frustration, embarrassment and, humiliation.

       13.     At all times pertinent hereto, Defendant was acting by and through its agents,

servants and/or employees who were acting within the course and scope of their agency or

employment, and under the direct supervision and control of the Defendant herein.

       14.     At all times pertinent hereto, the conduct of the Defendant as well as that of its

agents, servants and/or employees, was intentional, willful, reckless, and in grossly negligent

disregard for federal and state laws and the rights of the Plaintiff herein.

                                            V.    Claims

                            COUNT ONE – Violations of the FCRA
                                    Plaintiff v. TU

       15.     Plaintiff incorporates the foregoing paragraphs as though the same were set forth

at length herein.

       16.     At all times pertinent hereto, TU was a “person” and a “consumer reporting

agency” as those terms are defined by 15 U.S.C. § 1681a(b) and (f).

       17.     At all times pertinent hereto, the Plaintiff was a “consumer” as that term is

defined by 15 U.S.C. § 1681a(c).

       18.     At all times pertinent hereto, the above-mentioned credit reports were “consumer

reports” as that term is defined by 15 U.S.C. § 1681a(d).

       19.     Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, TU is liable to the Plaintiff

for willfully and negligently failing to comply with the requirements imposed on a consumer

reporting agency of information pursuant to 15 U.S.C. §§ 1681e(b).




                                                  3
              Case 2:17-cv-05502-RK Document 1 Filed 12/08/17 Page 4 of 5



       20.      The conduct of TU was a direct and proximate cause, as well as a substantial

factor, in bringing about the serious injuries, actual damages and harm to the Plaintiff that are

outlined more fully above and, as a result, Defendant is liable to the Plaintiff for the full amount

of statutory, actual and punitive damages, along with the attorneys’ fees and the costs of

litigation, as well as such further relief, as may be permitted by law.

                                  VI.    JURY TRIAL DEMAND

       21.      Plaintiff demands trial by jury on all issues so triable.

                                  VII.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and damages against the

Defendant, based on the following requested relief:

       (a)      Actual damages;

       (b)      Statutory damages;

       (c)      Punitive damages;

       (d)      Costs and reasonable attorney's fees pursuant to 15 U.S.C. §§1681n and 1681o;

                and

        (e)     Such other and further relief as may be necessary, just and proper.




                                                   4
          Case 2:17-cv-05502-RK Document 1 Filed 12/08/17 Page 5 of 5



                                    Respectfully submitted,

                                    FRANCIS & MAILMAN, P.C.


                              BY:   __/s/ Mark D. Mailman___________________
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Dated: December 8, 2017




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